Exhibit E
                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


SUSAN BACS and JESSICA
ROUBERT,
                                              CASE NO.: 8:21-cv-2852-TPB-TGW
                  Plaintiffs,

             v.

CAPITAL ONE FINANCIAL
CORPORATION,

                  Defendant.


             DEFENDANT’S OBJECTIONS AND RESPONSES TO
              PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS

      Pursuant to Federal Rules of Civil Procedure 26 and 36, Defendant Capital

One Financial Corporation (“Defendant”), by and through its undersigned counsel

and in accordance with the Federal Rules of Civil Procedure, hereby objects and

responds to Plaintiffs’ First Set of Requests for Admission (“Requests”). Defendant

reserves the right to supplement or amend these objections and responses as

necessary in accordance with the Federal Rules of Civil Procedure and any Local

Rules and orders of this Court.

        GENERAL OBJECTIONS APPLICABLE TO ALL REQUESTS

      In addition to the objections set forth below, Defendant make the following

objections applicable to each of the Requests. These objections form a part of the

responses to each Request and are set forth here to avoid the duplication and

repetition involved in restating them for each response.
       1.     Defendant objects to the Requests to the extent they seek information

not relevant to any party’s claims or defenses in this matter and/or to the extent that

they are overly broad and unduly burdensome in light of the limits on relevance and

proportionality imposed by the Federal Rules of Civil Procedure. See Fed. R. Civ. P.

26(b)(1).

       2.     Defendant objects to the Requests to the extent they seek information

protected by the attorney-client privilege, the common interest privilege, and/or the

work product doctrine. Any inadvertent production of privileged information shall

not constitute a waiver of any of the rights or privileges of Defendant.

       3.     Defendant objects to the Requests to the extent they seek information

that is already in Plaintiffs’ possession, custody, or control, or that is equally

available to Plaintiffs.

       4.     Defendant objects to the Requests to the extent they seek information

that belongs solely to third parties and/or are not within Defendant’s possession,

custody, or control.

       6.     Defendant objects to the Requests and Definition No. 9 to the extent

they pertain to information related to the period before December 7, 2017, or after

the close of fact discovery. Defendant will limit the time period for responsive

information to December 7, 2017 (the “Relevant Period”) through the date of these

Responses unless otherwise indicated.

       7.     Defendant objects to each and every Definition and Instruction set forth

in the Requests to the extent that any Definition or Instruction imposes and/or



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purports to impose burdens beyond those set forth in the Federal Rules of Civil

Procedure and/or the Local Rules of the United States District Court for the Middle

District of Florida.

       8.     Defendant objects to Definition No. 2 for “You” on the grounds that

each such definition is overbroad in that the definition seeks to include not only Capital

One, but also its “subsidiary(ies), parent corporation(s) and/or any of its branches,

departments, employees, agents, contractual affiliates, or otherwise connected by legal

relationship, in the broadest sense” and its “agents, servants and/or employees, and

in the instance of defendant corporations or other business entities.” Furthermore,

Defendant objects to this definition to the extent it misidentifies Capital One as

“Lexis.”

       9.     Defendant responds to these Requests based upon information presently

available that it has been able to identify through reasonable efforts. In so doing,

Defendant reserves and does not waive the right to rely upon subsequently developed

legal theories or additional information later discovered or obtained, or inadvertently

omitted at this time. Defendant’s investigation into this matter is continuing, and

Defendant reserves the right to amend or supplement its objections and responses to

the Requests as necessary or appropriate in accordance with the Federal Rules of

Civil Procedure or the Civil Local Rules or orders of this Court.

                     RESPONSES AND OBJECTIONS TO
                  PLAINTIFFS’ REQUESTS FOR ADMISSIONS




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REQUEST NO. 1:

      Admit that the attached document, Exhibit A, is a true and authentic copy of

the genuine original document.

RESPONSE TO REQUEST NO. 1:

      Defendant objects to this Request as vague and ambiguous because it is not

clear what Plaintiff requests Defendant to admit Exhibit A is a true and authentic

copy of.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that Exhibit A is a copy of an 8-

page document whose content speaks for itself.

REQUEST NO. 2:

      Admit that the attached document Exhibit A is the COBRA Notice sent to

Plaintiff, Susan Bacs.

RESPONSE TO REQUEST NO. 2:

       Defendant objects that the phrase “COBRA notice” is vague and ambiguous

and fails to describe the information sought with reasonable particularity, especially

because Exhibit A includes multiple documents sent on multiple dates.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that Exhibit A appears to

include certain, but not all, pages of the COBRA Notice sent to Susan Bacs.




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REQUEST NO. 3:

      Admit that the attached document Exhibit A is the COBRA Notice template

utilized by Defendant for the relevant time period.

RESPONSE TO REQUEST NO. 3:

       Defendant objects that the phrases “COBRA notice” and “template” are

vague and ambiguous and fail to describe the information sought with reasonable

particularity. Defendant also objects that Exhibit A is a specific COBRA Notice

provided to a specific individual, and it is therefore, by definition, not a generic

“template.”

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 4:

      Admit that the attached document Exhibit A is the form COBRA Notice that

was utilized by Defendant during the relevant time period.

RESPONSE TO REQUEST NO. 4:

       Defendant objects that the phrase “form COBRA notice” is vague and

ambiguous and fails to describe the information sought with reasonable particularity.

Defendant also objects that Exhibit A is a specific COBRA Notice provided to a

specific individual, and it is therefore, by definition, not a generic “form” COBRA

Notice.




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      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 5:

      Admit that in this litigation Plaintiff can satisfy the numerosity requirement

for Fed.R.Civ.P. 23(a).

RESPONSE TO REQUEST NO. 5:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: admitted, based on the proposed class definition in the Amended

Complaint.

REQUEST NO. 6:

      Admit that in this litigation Plaintiff can satisfy the typicality requirement for

Fed.R.Civ.P. 23(a).

RESPONSE TO REQUEST NO. 6:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.




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REQUEST NO. 7:

      Admit that in this litigation Plaintiff can satisfy the adequacy requirement for

Fed.R.Civ.P. 23(a).

RESPONSE TO REQUEST NO. 7:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 8:

      Admit that in this litigation Plaintiff can satisfy the commonality requirement

for Fed.R.Civ.P. 23(a).

RESPONSE TO REQUEST NO. 8:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 9:

      Admit that in this litigation Plaintiff can satisfy the predominance requirement

for Fed.R.Civ.P. 23(b)(3).

RESPONSE TO REQUEST NO. 9:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.




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REQUEST NO. 10:

      Admit that in this litigation Plaintiff can satisfy the superiority requirement for

Fed.R.Civ.P. 23(b)(3).

RESPONSE TO REQUEST NO. 10:

       Defendant objects that this Request improperly seeks a legal conclusion.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 11:

      Admit Capital One Financial Corporation has records containing the names

and last known mailing addresses of the putative class members.

RESPONSE TO REQUEST NO. 11:

       Defendant objects that this Request improperly seeks a legal conclusion about

who would be considered “putative class members,” as Plaintiffs’ Amended

Complaint defines the putative class in terms of the “applicable statute of limitations

period,” which Plaintiffs do not otherwise define in their Amended Complaint. This

Request is also vague and ambiguous because it does not state whether the “records”

would contain the information required to identify the “putative class members” in

the first instance, or if the “records” would only contain the “names and last known

mailing addresses” of certain, as yet unidentified individuals that would be

independently identified as “putative class members.”




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      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that it has some records

containing the names and last known mailing addresses for some individuals that

would meet the putative class definition in the Amended Complaint.

REQUEST NO. 12:

      Admit Capital One Financial Corporation has access to records containing the

names and last known mailing addresses of the putative class members.

RESPONSE TO REQUEST NO. 12:

       Defendant objects that this Request improperly seeks a legal conclusion about

who would be considered “putative class members,” as Plaintiffs’ Amended

Complaint defines the putative class in terms of the “applicable statute of limitations

period,” which Plaintiffs do not otherwise define in their Amended Complaint. This

Request is also vague and ambiguous because it does not state whether the “records”

would contain the information required to identify the “putative class members” in

the first instance, or if the “records” would only contain the “names and last known

mailing addresses” of certain, as yet unidentified individuals that would be

independently identified as “putative class members.” Defendant also objects to the

extent this Request improperly asks Defendant to admit or deny whether it has

“access” to information held by third parties, when such information is not in the

possession, custody, or control of Defendant.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that it is aware of third parties



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with records containing the names and last known mailing addresses for some

individuals that would meet the putative class definition in the Amended Complaint.

REQUEST NO. 13:

      Admit Capital One Financial Corporation has records containing the names

and last known mailing addresses of the individuals to whom it sent, or caused to be

sent, COBRA notices during the last four years.

RESPONSE TO REQUEST NO. 13:

      Defendant objects that this Request is vague and ambiguous because it does

not state whether the “records” would contain the information required to identify

the “individuals to whom [Capital One] sent, or caused to be sent, COBRA notices”

in the first instance, or whether the “records” would only contain the “names and

last known mailing addresses” of individuals that would be independently identified

as being sent such COBRA Notices.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 14:

      Admit Capital One Financial Corporation has records containing the names

and last known mailing addresses of the individuals to whom it sent, or caused to be

sent, COBRA notices during the year preceding this lawsuit through the present.




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RESPONSE TO REQUEST NO. 14:

      Defendant objects that this Request is vague and ambiguous because it does

not state whether the “records” would contain the information required to identify

the “individuals to whom [Capital One] sent, or caused to be sent, COBRA notices”

in the first instance, or whether the “records” would only contain the “names and

last known mailing addresses” of individuals that would be independently identified

as being sent such COBRA Notice.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 15:

      Admit that the Named Plaintiff Susan Bacs was not terminated for gross

misconduct.

RESPONSE TO REQUEST NO. 15:

       Defendant objects that this Request improperly seeks a legal conclusion

because “gross misconduct” is a legal term defined under COBRA.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 16:

      Admit that following Susan Bacs’ termination, you caused or directed a third-

party COBRA administrator to mail Susan Bacs a notice, issued pursuant to the

Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”), offering




                                        - 11 -
continuation coverage.

RESPONSE TO REQUEST NO. 16:

       Defendant objects that this Request improperly seeks a legal conclusion to the

extent that it requires Defendant to determine whether or not it was legally obligated

under COBRA to provide Susan Bacs with a notice of her rights to elect COBRA

continuation benefits.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that, following Susan Bacs’

termination, it caused or directed a third-party COBRA administrator to mail Susan

Bacs a notice offering her continuation coverage under the Plan.

REQUEST NO. 17:

      Admit that the Named Plaintiff Susan Bacs experienced a “qualifying event”

as defined by ERISA.

RESPONSE TO REQUEST NO. 17:

       Defendant objects that this Request improperly seeks a legal conclusion

because “qualifying event” is a legal term defined under ERISA.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied. Defendant admits only that Susan Bacs was terminated from

Capital One effective November 26, 2018.

REQUEST NO. 18:

      Admit that the Named Plaintiff Susan Bacs was issued a notice pursuant to




                                         - 12 -
the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”).

RESPONSE TO REQUEST NO. 18:

       Defendant objects that this Request improperly seeks a legal conclusion to the

extent that it requires Defendant to determine whether or not it was legally obligated

under COBRA to provide Susan Bacs with a notice of her rights to elect COBRA

continuation benefits.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 19:

      Admit that the Named Plaintiff Aron Bacs was issued a notice pursuant to the

Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”).

RESPONSE TO REQUEST NO. 19:

       Defendant objects on the grounds that it seeks information that is not relevant

to the parties’ claims or defenses, as Aron Bacs was dropped by Plaintiffs as a

Named Plaintiff to this action.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 20:

      Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 40 former




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Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 20:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that its COBRA administrator

provided a notice offering continuation coverage under the Plan to more than 40

former Capital One Financial Corporation employees during the year preceding the

filing of the Complaint.

REQUEST NO. 21:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 40 former

Capital One Financial Corporation employees during the time period for the class

definition in the Amended Complaint.

RESPONSE TO REQUEST NO. 21:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity. Defendant further objects that this Request improperly seeks a legal

conclusion because the “time period for the class definition in the Amended




                                        - 14 -
Complaint” refers to the “applicable statute of limitations period,” which the

Amended Complaint does not define.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that its COBRA administrator

provided a notice offering continuation coverage under the Plan to more than 40

former Capital One Financial Corporation employees during the four year period

preceding the filing of Plaintiffs’ Complaint.

REQUEST NO. 22:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 100 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 22:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that its COBRA administrator

provided notices offering continuation coverage under the Plan to more than 100

former Capital One Financial Corporation employees during the year preceding the

filing of the Complaint.




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REQUEST NO. 23:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 500 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 23:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that its COBRA administrator

provided notices offering continuation coverage under the Plan to more than 500

former Capital One Financial Corporation employees during the year preceding the

filing of the Complaint.

REQUEST NO. 24:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 1,000 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.




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RESPONSE TO REQUEST NO. 24:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that its COBRA administrator

provided notices offering continuation coverage under the Plan to more than 1,000

former Capital One Financial Corporation employees during the year preceding the

filing of the Complaint.

REQUEST NO. 25:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 10,000 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 25:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.




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REQUEST NO. 26:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 25,000 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 26:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 27:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 50,000 former

Capital One Financial Corporation employees during the year preceding the filing of

the Complaint.

RESPONSE TO REQUEST NO. 27:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.




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       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 28:

       Admit that the form COBRA notice, utilized by Capital One Financial

Corporation during the relevant time period, was mailed to more than 100,000

former Capital One Financial Corporation employees during the year preceding the

filing of the Complaint.

RESPONSE TO REQUEST NO. 28:

       Defendant objects to the phrase “the form COBRA notice” as vague and

ambiguous, as it fails to describe the information sought with reasonable

particularity.

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 29:

       Admit Defendant does not have a written opinion from an attorney regarding

the Capital One Financial Corporation COBRA notice utilized during the period for

the class definition in the Amended Complaint.

RESPONSE TO REQUEST NO. 29:

       Defendant also objects to the extent this Request seeks information that is

protected by the attorney-client privilege and/or work product doctrine. Defendant

further objects that this Request improperly seeks a legal conclusion because the




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“period for the class definition in the Amended Complaint” refers explicitly to the

“applicable statute of limitations period,” which is not otherwise defined in the

Amended Complaint. Defendant also objects to the terms “written opinion” as

vague and ambiguous as to Plaintiffs’ intended meaning and as used in this Request.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 30:

      Admit Defendant does not have a written opinion from an attorney regarding

whether its COBRA notice complies with the law.

RESPONSE TO REQUEST NO. 30:

       Defendant objects to the terms “opinions,” “complies,” and “law” as vague

and ambiguous as to Plaintiffs’ intended meaning and as used in this Request.

Defendant further objects to the extent this Request seeks information that is

protected by the attorney-client privilege and/or work product doctrine.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.

REQUEST NO. 31:

      Admit that all Capital One Financial Corporation employees who had health

insurance through Capital One Financial Corporation’s Health Plan are mailed a

copy of the Capital One Financial Corporation COBRA notice once they experience

a qualifying event.




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RESPONSE TO REQUEST NO. 31:

       Defendant objects that this Request improperly seeks a legal conclusion

related to the term “qualified event,” which is defined under COBRA.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that it provided notices offering

continuation coverage under the Plan to certain Plan participants and beneficiaries

who might have otherwise lost Plan coverage, including to terminated employees

whose employment was terminated for gross misconduct.

REQUEST NO. 32:

      Admit that Capital One Financial Corporation relied on forms obtained from

its COBRA Administrator when drafting its COBRA Notice.

RESPONSE TO REQUEST NO. 32:

      Defendant further objects to the phrases “relied on,” “forms,” “obtained,” and

“drafting” as vague and ambiguous as to Plaintiffs’ intended meaning and as used in

this Request.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that, as part of its COBRA

notification process, Defendant worked with its COBRA administrator to develop

the notices provided to relevant individuals offering them the opportunity to elect

COBRA continuation coverage under the Plan.




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REQUEST NO. 33:

      Admit Capital One Financial Corporation has used the same COBRA

administrator to send all COBRA notices in the United States for the last four years.

RESPONSE TO REQUEST NO. 33:

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that, for the last four years, it

has had a contractual arrangement with Anthem Blue Cross Blue Shield (“Anthem”)

under which Anthem was responsible for mailing notices to relevant individuals

offering them the opportunity to elect continuation coverage under the Plan.

REQUEST NO. 34:

      Admit Capital One Financial Corporation has used the same COBRA

administrator to send all COBRA notices in the United States for the last one year.

RESPONSE TO REQUEST NO. 34:

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits that, for the last one year, it had a

contractual arrangement with Anthem under which Anthem was responsible for

mailing notices to relevant individuals offering them the opportunity to elect

COBRA continuation coverage under the Plan.

REQUEST NO. 35:

      Admit Capital One Financial Corporation did not use the DOL Model

COBRA to notify Plaintiff of his rights under COBRA.




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RESPONSE TO REQUEST NO. 35:

       Defendant objects to this Request because the Department of Labor has

issued a number of model COBRA election notices in the Relevant Period, but this

Request fails to identify which model COBRA election notice (or notices) is being

referred to. Defendant also objects to this Request because it presumes that the

Department of Labor’s Model COBRA Election Notice (“Model Notice”) could be

provided, as written, to Plaintiffs to allow them to elect COBRA coverage. The

Model Notice is not intended by the Department of Labor to be provided without

modification to individuals regarding COBRA coverage because it contains, among

other things, instructions describing the information that should be inserted into the

notice before being provided to individuals. “Using” the Model Notice, according to

the Department of Labor’s own instructions, would require modification of the

Model Notice, which renders the term “using” vague and ambiguous, as it might

encompass various degrees of modification or incorporation of language contained in

the Model Notice. Defendant also objects to this Request as not relevant to the

parties’ claims or defenses in this action. There is no statute or regulation that

requires Defendant to use the Model Notice or language in the Model Notice as part

of Defendant’s COBRA Notice. Defendant further objects to this Request on the

grounds that it does not identify which Plaintiff it is referring to and, as Defendant

understands it, both Plaintiffs are women.

      Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied as stated. Defendant admits only that the COBRA Notice it



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provided Plaintiffs was not identical to the DOL Model COBRA Notice but

contained all of the information required by the COBRA statute and COBRA

regulations.

REQUEST NO. 36:

      Admit that the only witnesses Capital One Financial Corporation has

disclosed in its Rule 26 disclosures are, in fact, Capital One Financial Corporation

employees.

RESPONSE TO REQUEST NO. 36:

       Subject to and without waiving the foregoing objections, Defendant responds

as follows: denied.




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Dated: June 27, 2022   Respectfully submitted,

                       MORGAN, LEWIS & BOCKIUS LLP


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                       Counsel for Defendant
                       Capital One Financial Corporation
                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on June 27, 2022, the foregoing Defendant’s

Responses to Plaintiffs’ First Set of Requests for Admission was furnished via email

to the following:

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